

People v Tzep (2017 NY Slip Op 07836)





People v Tzep


2017 NY Slip Op 07836


Decided on November 9, 2017


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on November 9, 2017
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Fourth Judicial Department

PRESENT: SMITH, J.P., CARNI, CURRAN, AND WINSLOW, JJ.


1201 KA 15-01194

[*1]THE PEOPLE OF THE STATE OF NEW YORK, RESPONDENT,
vCRISTOBAL XOCOL TZEP, DEFENDANT-APPELLANT. 






CARA A. WALDMAN, FAIRPORT, FOR DEFENDANT-APPELLANT.
R. MICHAEL TANTILLO, DISTRICT ATTORNEY, CANANDAIGUA (V. CHRISTOPHER EAGGLESTON OF COUNSEL), FOR RESPONDENT. 


	Appeal from a judgment of the Ontario County Court (Craig J. Doran, J.), rendered June 1, 2015. The judgment convicted defendant, upon his plea of guilty, of attempted assault in the first degree. 
It is hereby ORDERED that the judgment so appealed from is unanimously affirmed.
Entered: November 9, 2017
Mark W. Bennett
Clerk of the Court








